           Case 5:22-cv-00134-MTT Document 1-1 Filed 03/30/22 Page 1 of 56

                                                                                       CLERK OF SUPERIOR COURT
                                                                                       MONROE COUNTY, GEORGIA

                    IN THE SUPERIOR COURT OF MONROE COUNTY                           SUCV2021000489
                                                                                        DEC 14, 2021 11:57 AM
                                     STATE OF GEORGIA

RICHARD PIERSON,                               )
                                               )
                Plaintiff,                     )
                                               )        CIVIL ACTION FILE NO.:
vs.                                            )
                                               )
LUIS BATISTA and VICTORIA                      )
LOGISTICS, LLC,                                )
                                               )
                Defendants.                    )

                                COMPLAINT FOR DAMAGES

       COMES NOW Richard Pierson, Plaintiff in the above-styled action, by and through the

undersigned counsel, Kenneth S. Nugent, P.C., and hereby files this, his Complaint (the “Complaint”)

against Defendants Luis Batista and Victoria Logistics, LLC, and shows this Honorable Court as

follows:

                                                   1.

       Richard Pierson (“Plaintiff”) is a resident of the State of Georgia and currently resides at

1220 Candlewyck Drive, Warner Robins, Georgia 31088. For purposes of the instant action,

Plaintiff subjects himself to the jurisdiction and venue of this Court.

                                                   2.

       Luis Batista (“Defendant Batista”) is a resident of Miami-Dade County, Florida and subject

to the jurisdiction of this Court pursuant to O.C.G.A. § 40-12-3 which states in pertinent part,

“actions brought under this chapter relating to the use of the highways of this state by a nonresident

motorist shall be brought in the county in which the accident or injury occurred or the cause of

action originated, or in the county of the residence of the Plaintiff, as the Plaintiff in such action

may elect...” Defendant Batista may be served with a copy of this Complaint and Summons at his

residence, to-wit: 14912 SW 18th Terrace, Miami, Florida 33185.
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                                                  3.

        Defendant Victoria Logistics, LLC (Defendant “Victoria”), is a Florida Corporation doing

business in the State of Georgia. Service of a Second Original Summons and Complaint may be

made on this Defendant by serving its registered agent, to wit: Luis Batista, 691 E 63 Street,

Hialeah, Florida 33013 and is subject to the jurisdiction and venue of this Court.


                                        SUMMARY OF FACTS

                                                  4.

        On or about March 31, 2020, Plaintiff was driving a 2012 BMW Z4 traveling northbound on

GA Highway 401, in the County of Monroe, State of Georgia.

                                                  5.

        On or about same time and place, Defendant Batista was driving a 2009 Freightliner Truck

northbound on GA Highway 401 ahead of Plaintiff’s vehicle.

                                                  6.

        On or about March 31, 2020, Defendant Batista failed to maintain his lane of travel while

attempting to negotiate a curve. Suddenly, and without warning, Defendant Batista collided with the

guardrail causing the Freightliner and its trailer to overturn, blocking all lanes travel. Plaintiff was

unable to avoid the wreckage and collided with the disabled tractor trailer, which caused damages to

Plaintiff’s vehicle and injuries to Plaintiff.

                                                  7.

        At all times relevant hereto, the vehicle in which Plaintiff was traveling as a passenger was

operated in a safe, reasonable, and prudent fashion.
         Case 5:22-cv-00134-MTT Document 1-1 Filed 03/30/22 Page 3 of 56



                                                 8.

        At said time and place, Defendant Batista failed to act in the manner expected of a

reasonable and prudent driver by failing to maintain his lane of travel, and Defendant Batista was

otherwise negligent in the premises.

                                                 9.

        As a direct and proximate result of the collision, Plaintiff sustained immediate and severe

injuries to his back and right ankle.

                                                 10.

        Defendant Batista’s failure to obey traffic laws by failing to maintain his lane of travel

constitutes a violation of O.C.G.A. § 40-6-48.

                                                 11.

        Because Defendant Batista violated O.C.G.A. § 40-6-48, Defendant’s actions constitute

negligence per se, as well as ordinary negligence.

                                                 12.

        Defendant Batista’s negligent actions were the sole, direct, and proximate cause of the

collision.

                                                 13.

        The aforesaid collision was not the result of any negligence on the part of Plaintiff or any

person other than Defendant Batista.

                                                 14.

        At the time of the collision which is the subject-matter of this case, Defendant Batista was

driving and operating a vehicle which was owned by Defendant Victoria.
        Case 5:22-cv-00134-MTT Document 1-1 Filed 03/30/22 Page 4 of 56



                                               15.

       Defendant Batista’s operation of Defendant Victoria’s vehicle was warranted under the

express authority granted him by virtue of his agency and/or employment relationship with

Defendant Victoria.

                                               16.

       When Defendant Batista committed the negligent acts described above, he was acting

under the direction and control of Defendant Victoria, and was acting within the scope of his

employment and in furtherance of Defendant Victoria.

                                               17.

       The negligent acts committed by Defendant Batista were within the range of Defendant

Batista’s employment and for the purpose of accomplishing the business authorized by Defendant

Victoria.

                                               18.

       Defendant Victoria, is therefore liable to the Plaintiff under the theory of Respondeat

Superior, for the negligent acts and omissions of its agent and/or employee, Defendant Batista; as

such acts were committed in the course and scope of these agencies and/or employment by

Defendant Victoria, and proximately caused the Plaintiff’s injuries.

                                               19.

       As a result of the injuries Plaintiff sustained in the collision, Plaintiff has incurred

significant physical and mental pain and suffering as well as extensive costs and expenses, all of

which will be itemized by appropriate amendment to these pleadings.

                                               20.

       Defendants Batista and Victoria, are therefore jointly and severally liable to Plaintiff for

special and general damages in an amount to be proved by the evidence at trial.
        Case 5:22-cv-00134-MTT Document 1-1 Filed 03/30/22 Page 5 of 56



                                 COUNT 1: NEGLIGENCE OF
                                 DEFENDANT LUIS BATISTA

                                                 21.

       Plaintiff re-alleges and incorporates by reference the allegations set forth in paragraphs 1

through 20 above as though fully set forth herein.

                                                 22.

       The negligence was caused in whole or in part by the negligence and negligence-per-se of

Defendant Batista in one or more of the following respects:

       a.      Defendant Batista failed to drive at a reasonable and prudent speed;

       b.      Defendant Batista failed to obey the traffic laws in the State of Georgia;

       c.      Defendant Batista failed to take evasive action to avoid the collision made the

               basis of this claim;

       d.      Defendant Batista drove Defendant Victoria’s vehicle in reckless and/or

               careless disregard for the safety of other drivers on the highway especially the

               Plaintiff herein; and

       e.      Defendant Batista failed to maintain control of Defendant Victoria’s vehicle

               and failed to post a proper lookout.

                                                 23.

       Further, the actions of Defendant Batista constitute a direct violation of numerous statutes

of the State of Georgia, with such violations constituting negligence-per-se or negligence as a

matter of law. These statutory violations are:

       O.C.G.A. § 40-6-390             Reckless driving;

       O.C.G.A. § 40-6-241             Drivers to exercise due care; and

       O.C.G.A. § 40-6-48              Failure to maintain lane.
           Case 5:22-cv-00134-MTT Document 1-1 Filed 03/30/22 Page 6 of 56



                                                  24.

          The above described acts of negligence and negligence per-se above caused the vehicle

driven by Defendant Batista to become a barrier blocking all lanes of travel causing a collision

with the Plaintiff’s vehicle.

                                                  25.

          Due to the collision caused by Defendant Batista, Plaintiff suffered serious bodily injuries,

incurred medical expenses, lost wages and endured physical and emotional pain and suffering,

past, present, and future.


                          COUNT II: NEGLIGENCE OF DEFENDANT
                               VICTORIA LOGISTICS, LLC

                                                  26.

          Plaintiff re-alleges and incorporates by reference the allegations set forth in paragraphs 1

through 25 above as though fully set forth herein.

                                                  27.

          The collision occurred as a direct and proximate result of Defendant Victoria’s negligent

entrustment of their vehicle to Defendant Batista, in allowing Defendant Batista to drive its vehicle

in a negligent manner, and in doing so failed to exercise ordinary care and regard for the safety of

others.

                                                  28.

          The negligence was caused in whole or in part by the negligence and negligence-per-se of

Defendant Batista in one or more of the following respects:

          a)     Defendant Victoria allowed Defendant Batista to drive their vehicle in a

                 reckless and dangerous manner;
        Case 5:22-cv-00134-MTT Document 1-1 Filed 03/30/22 Page 7 of 56



       b)     Defendant Victoria allowed Defendant Batista to drive their vehicle knowing

              Defendant Batista was not a competent driver;

       c)     Defendant Victoria knew or should have known that Defendant Batista posed

              a risk to others;

       d)     Defendant Victoria knew or should have known that Defendant Batista

              would drive their vehicle in a dangerous and reckless manner.

                                                 29.

       All Defendants herein are therefore jointly and severally liable to Plaintiff for general

damages in an amount to be proven by the evidence at trial.


                                     COUNT III: INJURIES
                                       TO PLAINTIFF

                                                 30.

       Paragraphs 1 through 29 of this Complaint are incorporated herein by reference.

                                                 31.

       As a direct and proximate result of the actions of Defendant Batista, Plaintiff has sustained:

       a)     Various bodily injuries, including but not limited: back pain; right ankle pain; L5

              anterior compression fracture and right ankle calcaneal fracture;

       b)     Past, present and future mental and physical pain and suffering and disruption of

              normal life and diminution in the enjoyment of life;

       c)     Past, present and future medical expenses; and

       d)     Lost wages and incidental expenses.

                                                 32.

       Plaintiff has incurred the following special damages:
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                Monroe County EMS                  03/31/2020 -       03/31/2020   $    921.50
                Monroe County Hospital             03/30/2020 -       03/30/2020   $ 2,226.68
                Emergency Physicians of Forsyth    03/30/2020 -       03/30/2020   $ 2,138.00
                South Georgia Radiology Associates 03/31/2020 -       03/31/2020   $    370.00
                Monroe County EMS                  03/31/2020 -       03/31/2020   $ 1,175.00
                Navicent Health                    03/31/2020 -       04/01/2020   $ 23,150.78
                Radiology Associates of Macon      03/31/2020 -       10/05/2020   $    822.00
                Health Services of Central GA      03/31/2020 -       04/01/2020   $ 1,145.00
                Georgia Magnetic Imaging Center 03/31/2020 -          03/31/2020   $    257.00
                Georgia Neurological Institute     03/31/2020 -       09/01/2020   $ 6,618.00
                GA Orthopaedic Trauma Institute 04/23/2020 -          10/05/2020   $    246.00
                Dr. Richard Smith                  04/24/2020 -       04/24/2020   $    153.00
                Middle Georgia Orthopaedics        06/29/2020 -       09/14/2020   $ 9,640.00
                Breg, Inc. (Back Brace)                                            $ 1,860.00
                DJO, LLC (Walking Boot)                                            $    335.04

                TOTAL MEDICALS                                                     $ 51,058.00

                Lost Wages                               03/31/2020 - 10/19/2020   $ 58,147.61

                TOTAL SPECIALS                                                     $ 109,205.61

                                                   33.

        The charges for the above referenced bills are reasonable and customary for the treatment

that Plaintiff has received and/or will receive.

                                                   34.

        The above referenced charges were/are necessary to treat the injuries Plaintiff suffered as

a result of this accident.

                                                   35.

        Defendants are therefore liable to Plaintiff for past and future special damages in the

amount of $109,205.61.

                                                   36.

        Defendants are further liable to Plaintiff for general damages in an amount to be proven by

the evidence at trial.
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      WHEREFORE, Plaintiff prays that he has judgment against Defendants as follows:

      a)     Trial by jury;

      b)     Judgment against the Defendants for general damages in an amount to be

             determined by the Court;

      c)     Judgment against the Defendants for special damages in an amount to be proven at

             trial;

      d)     Judgment against the Defendants for costs and expenses;

      e)     Judgment against the Defendants for such other and further relief as this Court

             deems appropriate; and

      f)     That Plaintiff recover for attorneys’ fees and all other damages allowed under

             O.C.G.A. § 13-6-11.

      This 14th day of December, 2021.

                                                 KENNETH S. NUGENT, P.C.

                                                  /s/ Ryan M. Horn
                                                 Ryan M. Horn
4227 Pleasant Hill Road                          Georgia Bar No. 794788
Building 11, Suite 300                           Jan P. Cohen
Duluth, Georgia 30096                            Georgia Bar No. 174337
T: (770) 495-6688                                Attorneys for Plaintiff
F: (770) 495-6787
rhorn@attorneykennugent.com
jcohen@attorneykennugent.com
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                    Case 5:22-cv-00134-MTT Document 1-1Department
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                                                       RETURN OF SERVICE
                                                             SUMMONS - CIVIL




 2/28/22 12:00 pm   Served - Sheriff’s Office                  SERVED                   LUIS BATISTA



02/15/2022    Came this day into hand of the Sheriff

02/22/2022    09:48 AM - CSS1 MARINA DEJESUS #4137, ATTEMPTED TO SERVE THE SUMMONS TO LUIS BATISTA
              AT 14912 SW 18TH TERRACE, MIAMI, FL 33185. THERE WAS NO ANSWERANXN

02/28/2022    12:00 PM - SERVED THE SUMMONS UPON LUIS BATISTA PERSONALLY AT THE MIAMI-DADE
              COUNTY SHERIFF'S OFFICE, OVERTOWN TRANSIT VILLAGE SOUTH, 601 NW 1 COURT, 9TH FLOOR,
              MIAMI, FL 33136.




                                                   KENNETH S. NUGENT, PC.
                                                   4227 PLEASANT HILL RD.
                                                   BUILDING 11, SUITE 300
                                                   DULUTH, GA 30096



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                     Case 5:22-cv-00134-MTT Document 1-1 Filed 03/30/22 Page 11 of 56
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                                                        RETURN OF SERVICE
                                                             SUMMONS - CIVIL



  2/28/22 12:00 pm   Served - Sheriff's Office                 SERVED                     VICTORIA LOGISTICS, LLC



 02/15/2022    Came this day into hand of the Sheriff

 02/17/2022    03:58 PM - CSS1 MANUEL SOLARES #9319, ATTEMPTED TO SERVE THE SUMMONS TO VICTORIA
               LOGISTICS, LLC AT C/O RA LUIS BATISTA, 691 E 93RD STREET, HIALEAH, FL 3301 3. THERE WAS NO
               ANSWER.\N\N         ...

 02/17/2022    07:50 PM - CONTACT ACTIVITY, CSS1 MANUEL SOLARES #931 9.\N\NPER ARMANDO (TENANT
               10YRS) STATES DOES NOT KNOW NAMED PERSON .STATES OWNER'S NAME IS CALLED YOANNY
               BORGES

 02/22/2022    09:48 AM - CSS1 MARINA DEJESUS #4137, ATTEMPTED TO SERVE THE SUMMONS TO VICTORIA
               LOGISTICS, LLC AT C/O RA LUIS BATISTA, 691 E 93RD STREET, HIALEAH, FL 33013. THERE WAS NO
               ANSWER.\N\N

 02/23/2022    09:30 AM - CSS1 MARINA DEJESUS #4137, ATTEMPTED TO SERVE THE SUMMONS TO VICTORIA
               LOGISTICS, LLC AT C/O RA LUIS BATISTA, 691 E 93RD STREET, HIALEAH, FL 33013. THERE WAS NO
               ANSWER.\N\N

 02/28/2022    12:00 PM - SERVED THE SUMMONS UPON VICTORIA LOGISTICS, LLC BY SERVING LUIS BATISTA-
               OWNER/AGENTATTHE MIAMI-DADE COUNTY SHERIFF'S OFFICE, OVERTOWN TRANSIT VILLAGE
               SOUTH, 601 NW 1 COURT, 9TH FLOOR, MIAMI, FL 33136.




               ADDITIONAL TRANSLATION PROVIDED BY CSS1 MELISSA TELLO




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                                                   KENNETH S. NUGENT, P.C.
                                                   4227 PLEASANT HILL RD.
                                                   BUILDING 11, SUITE 300
                                                   DULUTH, GA 30096



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                                                                                      CLERK OF SUPERIOR COURT
                                                                                      MONROE COUNTY, GEORGIA
                                                                                    SUCV2021000489
                   IN THE SUPERIOR COURT OF MONROE COUNTY
                                                                                      DEC 14, 2021 11:57 AM
                                     STATE OF GEORGIA

RICHARD PIERSON,                              )
                                              )
               Plaintiff,                     )
                                              )      CIVIL ACTION FILE NO.:
vs.                                           )
                                              )
LUIS BATISTA and VICTORIA                     )
LOGISTICS, LLC,                               )
                                              )
               Defendants.                    )

                      CERTIFICATE OF SERVICE OF DISCOVERY

       The undersigned hereby certifies that, pursuant to O.C.G.A. § 9-11-29.1 and other

applicable provisions of law, he has this day delivered for service upon Defendants true and correct

copies of Plaintiff’s First Interrogatories, Request for Admissions, and Request for Production of

Documents as provided by law.

       Respectfully submitted this 14th day of December, 2021.

                                                     KENNETH S. NUGENT, P.C.

                                                        /s/ Ryan M. Horn
                                                     Ryan M. Horn
4227 Pleasant Hill Road                              Georgia Bar No. 794788
Building 11                                          Jan P. Cohen
Duluth, Georgia 30096                                Georgia Bar No. 174337
T: (770) 495-6688                                    Attorneys for Plaintiff
F: (770) 495-6787
rhorn@attorneykennugent.com
jcohen@attorneykennugent.com
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                                                                                       CLERK OF SUPERIOR COURT
                                                                                       MONROE COUNTY, GEORGIA

                   IN THE SUPERIOR COURT OF MONROE COUNTY                            SUCV2021000489
                                                                                        DEC 14, 2021 11:57 AM
                                     STATE OF GEORGIA

RICHARD PIERSON,                              )
                                              )
               Plaintiff,                     )
                                              )        CIVIL ACTION FILE NO.:
vs.                                           )
                                              )
LUIS BATISTA and VICTORIA                     )
LOGISTICS, LLC,                               )
                                              )
               Defendants.                    )

               PLAINTIFF’S FIRST REQUEST FOR ADMISSIONS, FIRST
               INTERROGATORIES, AND REQUEST FOR PRODUCTION
                  OF DOCUMENTS TO DEFENDANT LUIS BATISTA

       COMES NOW, Richard Pierson, Plaintiff in the above-styled case, by and through his

undersigned counsel of record, Kenneth S. Nugent, P.C., and herewith serves upon this Defendant

the following Requests for Admissions, Interrogatories and Request for Production of Documents,

pursuant to the Georgia Civil Practice Act, and requires this Defendant to answer the following

Admissions, Interrogatories and Request for Production of Documents separately and fully in

writing under oath and to serve a copy of your answers on the attorneys for the Plaintiff within

forty-five (45) days from the date of service as provided by law. You are advised that if you fail

to admit any of the Requests for Admissions and the Plaintiff is required to prove any fact

contained in the Request at trial, the Plaintiff may seek all expenses incurred in making the proof,

including reasonable attorneys' fees.


                              REQUEST FOR ADMISSIONS

                                                  1.

       Admit that you have been correctly named in the instant action insofar as the legal designation

of names is concerned.
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                                                  2.

       Admit that you are familiar with the roadway described in the Complaint.

                                                  3.

       Admit that you left your lane of travel, struck a guard rail and overturned your vehicle directly

in the path of Plaintiff’s vehicle on or about March 31, 2020.

                                                  4.

       Admit that Plaintiff was not contributorily negligent in said incident.

                                                  5.

       Admit that Plaintiff did nothing wrong with regard to said incident.

                                                  6.

       Admit that Plaintiff did not assume the risk of injury with regard to said incident.

                                                  7.

       Admit that you failed to maintain your lane of travel before the incident in question took place.

                                                  8.

       Admit that you violated O.C.G.A. § 40-6-48 (failure to maintain lane).

                                                  9.

       Admit that as a direct and proximate result of the incident described in the Complaint the

Plaintiff suffered bodily injuries on or about March 31, 2020.

                                                 10.

       Admit that venue is proper in the Superior Court of Monroe County.

                                                 11.

       Admit that you were served with a copy of the Summons and Complaint.

                                                 12.

       Admit that no person not a party to this lawsuit was at fault in the subject incident.
        Case 5:22-cv-00134-MTT Document 1-1 Filed 03/30/22 Page 15 of 56



                                FIRST INTERROGATORIES

        You are required to answer the following Interrogatories and to serve a copy of your

answers on the attorneys for the Plaintiff within forty-five (45) days from the date of service as

provided by law.

        In answering the following Interrogatories, you are requested to give full and complete

answers based upon all knowledge of you and your agents, employees, servants, representatives,

investigators, and others who have obtained information on your behalf.

        These Interrogatories shall be deemed continuing in accordance with the Georgia Civil

Practice Act so as to require supplemental responses if you or your attorneys or agents obtain further

information between the time the responses are served and the time of trial. Any supplemental

responses are to be served upon counsel for Plaintiff within thirty (30) days from receipt of such

additional information, but not later than the time of trial.

        When used in these interrogatories, the term "incident" specifically refers to the incident

which occurred on or about March 31, 2020, at approximately 3:51 a.m. on GA Highway 401 in

Monroe County, Georgia, involving Plaintiff and Defendant Luis Batista; and which forms the

basis of the Complaint filed by Plaintiff.

                                                    1.

        Please state your full name, marital status (and spouse's full name), present street address

and telephone number, date of birth and social security number.

                                                    2.

        At the time of the incident which is the subject of this lawsuit, were you acting in the course

and scope of your employment for any employer? If so, identify said employer.
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                                                  3.

       Please list the names and addresses of any relatives you have in the county in which this

action is pending or any county to which you contend this action must be transferred to for trial.

                                                  4.

       State the purpose, point and time of beginning, destination, and the length of time and place

of all stops of the trip you were on at the time of the incident referred to in the complaint, and state

the name and addresses of each passenger in the vehicle at the time of this incident.

                                                  5.

       Describe in detail your version of how the subject incident occurred, including what you

did to avoid the incident and giving all facts concerning the details of the events before and at the

time of the incident which you believe contributed to the incident.

                                                   6.

       Describe in detail each act or omission on the part of Plaintiff which you contend constituted

negligence that was a contributing cause of the incident in question.

                                                   7.

       Describe in detail each act or omission on the part of any non-party which you contend

constituted negligence that was a contributing cause of the incident in question.

                                                  8.

       Did you consume any drugs, prescription or non-prescription, or alcoholic beverage of any

type within twenty-four (24) hours prior to the subject incident? If so, please identify the drug or

alcohol consumed, the quantity of such drug or alcohol consumed, the time of such consumption,

and identify any individuals who have knowledge of such consumption.
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                                                   9.

        At the time of the incident, were you suffering from any physical or mental condition,

disability or sickness, and if so, please state:

        (a)     The type and manner of the condition, disability or sickness;

        (b)     The date of the onset of the condition, disability or sickness; and

        (c)     The identity of each medical practitioner who has treated you for such condition,

                disability or sickness.

                                                   10.

        Do you wear glasses or contact lenses? If so, state:

        (a)     Who prescribed your glasses or contacts;

        (b)     When your glasses or contacts were prescribed; and

        (c)     When and by whom your eyes were last examined.

                                                   11.

        Please specify the time, place and substance of any conversation which you had, or which

any person in your presence had, at the scene of the incident about the manner in which it

happened; and if you contend that any admissions respecting the issues in this suit were made in

those conversations please set forth the substance of each such admission, the names and addresses

of each person making the admission or admissions, and the names and addresses of all persons

present when the admission or admissions were made.

                                                   12.

        What are the names, addresses, home telephone numbers, places of employment and

present whereabouts of all witnesses known to you who saw or claim they saw all or any part of

the occurrence complained of in this action?
        Case 5:22-cv-00134-MTT Document 1-1 Filed 03/30/22 Page 18 of 56



                                                 13.

       What are the names, addresses, home telephone numbers, places of employment and

present whereabouts of all witnesses known to you who arrived at the scene of the occurrence

complained of in this action immediately or shortly after its occurrence?

                                                 14.

       What are the names, addresses, home telephone numbers, places of employment and

present whereabouts of all persons known to you who have knowledge of relevant information,

facts or circumstances in this case?

                                                 15.

       State the name and address of each person including this Defendant from whom any

statement(s) in any form, whether written or oral, has been obtained with regard to the incident

and state the name and address of the person who has possession, custody or control of any such

statement.

                                                 16.

       Identify all photographs taken of any person or thing in connection with the incident. With

respect to each such photograph, state:

       (a)     The name and address of the person who took the photograph;

       (b)     What is depicted in the photograph; and

       (c)     The name and address of the person now having custody or possession of the negative

               of said photograph and of the positive prints thereof.

                                                 17.

       List the name and address of all persons, corporations or entities who were registered title

owners or who had any legal or equitable interest in the motor vehicle this Defendant was driving
        Case 5:22-cv-00134-MTT Document 1-1 Filed 03/30/22 Page 19 of 56



at the time of the incident and any and all automobiles owned by this Defendant at the time of this

incident.

                                                  18.

        Describe fully the extent to which any mechanical problems with your vehicle, the

condition of the weather, the condition of the highway, the occupants of your vehicle or any other

external factor or factors influenced, contributed or led to the incident made the basis of this action.

                                                  19.

        Did you or any occupant in your vehicle own a mobile telephone, or have one in your

possession, on March 31, 2020? If so, please identify the name in which the telephone was registered,

the provider of services for that telephone and state if you were talking, texting, emailing or otherwise

using that telephone at the time of the subject incident.

                                                  20.

        Were you charged with a violation of any law, ordinance or crime in connection with the

incident? If so, for each such charge, please state:

       (a)      A complete description of the charge;

       (b)      The name and address of the court before which the charge was brought;

       (c)      What plea you entered to the charge; and

       (d)      The ultimate disposition of the charge.

                                                  21.

        Have you ever been in a prior or subsequent incident of any type where property damage

or personal injury was sustained? If so, please describe each such occurrence, including but not

limited to, the type of incident, the date, the people involved and location thereof, and the type of

damage or injury.
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                                                   22.

        Have you ever been involved in any other legal action, either as a Plaintiff or a Defendant? If

so, state the date and place of each such lawsuit, giving the name of the court, the names of the other

parties involved, and the names of the attorneys representing each party.

                                                   23.

        Have you ever been arrested, pled guilty, pled nolo (no contest) or been convicted of any

felony or other crime involving moral turpitude? If so, please state the offense alleged, the warrant,

indictment or case number, the state, county and court involved, the date of the final order, and the

outcome (sentence, fine, period of probation) from each such charge.

                                                   24.

        Have you ever been charged or convicted of the violation of any traffic law or ordinance? If

so, with respect to each such violation, please state:

        (a)     A complete description of the charge;

        (b)     The date of the incident on which the charge was based;

        (c)     The name and address of the court before which the charge was brought;

        (d)     What plea you entered to the charge; and

        (e)     The ultimate disposition of the charge.

                                                   25.

        Please identify all policies of insurance providing coverage benefits of any type with regard

to the vehicle in which you were driving at the time of the incident or with regard to any vehicle

owned by you at the time of the incident or with regard to any policy for which you have presented

any claim for payment of any coverage benefits or any policy of homeowner’s and/or renter’s

insurance, “umbrella”, or excess coverage, or any type of liability policy or other type of policy of

insurance by or through which you were or might be insured or covered in any manner for any
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claim arising out of the incident which is the subject of this lawsuit by providing the following

information:

         (a)    The name and address of the company issuing the policy;

         (b)    The policy number;

         (c)    The types of coverage and limits of coverage provided thereby;

         (d)    The amount of any claim or demand made by you for payment of coverage benefits;

                and

         (e)    The type of coverage benefit demanded.

                                                   26.

         For each policy of insurance identified in response to the preceding interrogatories, please

state:

         (a)    Whether any such company has denied insurance coverage;

         (b)    Whether any such insurance company is defending under a reservation of rights letter

                or agreement; and

         (c)    Whether, to your knowledge, there are any coverage questions regarding any such

                policy mentioned above.

                                                   27.

         For each person you intend to call as an expert witness at the trial of the above-styled matter,

please state the following:

         (a)    His or her name, address and telephone number;

         (b)    His or her qualifications as an expert;

         (c)    The subject matter to which said person is expected to testify;

         (d)    The substance of the facts and opinions to which such person is expected to testify;

                and
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        (e)     A summary of the grounds for each opinion.

                                                  28.

        Please state the names, addresses and the telephone numbers of each individual who is not

an expert witness but who has knowledge with respect to the issues in this suit and who may be

called to testify on behalf of this Defendant.

                                                  29.

        Please identify all documents in your possession, custody or control which relate to the subject

matter of this action.

                                                  30.

        If you denied any of the foregoing Request for Admissions, for each admission you denied

or any portion thereof, please give and state each fact upon which you base your denial and provide

the name, address and phone number of all persons having knowledge of these facts and indicate

which facts are supported by which person or persons.

                                                  31.

        If, in responding to the foregoing Request for Admissions, you could not answer the

admission for lack of sufficient information, please describe all inquiries made by you to attempt

to answer the request.

                                                  32.

        State specifically all facts which you contend support the defenses set forth in this

Defendant’s answer including, but not limited to, defenses based on lack of jurisdiction of the

subject matter, lack of jurisdiction of the person, improper venue, insufficiency of process,

insufficiency of service of process, failure to state a claim upon which relief can be granted, failure

to join a party under O.C.G.A. §9-11-19, failure to correctly name a Defendant, or failure to sue a

real party in interest.
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                     REQUEST FOR PRODUCTION OF DOCUMENTS

       You are required to produce the documents requested herein and to permit the Plaintiff, or

someone acting on their behalf to inspect them and copy such of them as they may desire, within

forty-five (45) days from the date of service as provided by law. You may produce such documents

by mailing copies of same to the undersigned at the office of Kenneth S. Nugent, P.C., 4227

Pleasant Hill Road, Building 11, Suite 300, Duluth, Georgia 30096. YOU ARE FURTHER

NOTICED TO PRODUCE THE DOCUMENTS AT ANY DEPOSITION, HEARING OR TRIAL

OF THIS MATTER PURSUANT TO O.C.G.A. § 24-10-26.

       This Request for the Production of Documents and other things shall be deemed continuing

so as to require further and supplemental production of any and all documents and other things learned

of or received after the time of compliance herewith, the production of which would otherwise have

been required.

       The term "documents" is intended in the broad and literal sense, and means any and all

forms of written, typed, printed, recorded, graphic, or computer matter, however produced,

processed or reproduced, of any kind and description and whether an original, master, duplicate or

copy, including but not limited to agreements, amendments, analysis, appointment books, bank

checks, bills, canceled checks, communications (including inter-office and intra-office), corporate

records, correspondence, drafts, drawings, films, letters, lists, memoranda, microfiche, microfilm,

newspapers, notebooks, notes, orders, photographs, sound recordings, videotapes, things similar

to any of the foregoing, and notes, transcriptions or sound recordings of any type of personal or

telephone conversations, and all other physical things containing information, including

preliminary drafts of and marginal or other notes, notations or comments appearing on any

document, however denominated or described.
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       If you dispute the genuineness of any documents produced in response to this Request for

Production of Documents, please provide information sufficient to locate and obtain the original

of such document.

                                                  1.

       Please produce copies of all drivers licenses you now possess or that you did possess at the

time of the subject incident.

                                                  2.

       Please produce any and all documents which support or illustrate your version of the

incident as provided in your response to Interrogatory 5 of Plaintiff’s First Interrogatories to you.

                                                  3.

       Please produce any documents evidencing the reason you were traveling in the vehicle you

were driving at the time of the subject occurrence.

                                                  4.

       Please produce any documents showing the route or directions you planned to take or follow

had the incident not occurred.

                                                  5.

       Please produce any books, documents or other tangible things evidencing any facts or

circumstances upon which your defenses to the Plaintiff’s allegations of negligence, causation and

damages are based, or upon which you rely to demonstrate and support relevant facts pertaining to

the allegations contained in Plaintiff’s Complaint and your Answer thereto.

                                                  6.

       Please produce any and all documents which support your response to Interrogatories 9

and 10 of Plaintiff’s First Interrogatories to you.
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                                                    7.

        Please produce any and all written or recorded statements made by any witness, party or

other person having relevant information or knowledge or claiming to have relevant information

or knowledge of any fact or circumstance pertaining to the incident described in the Complaint

including but not limited to any such statements taken by any insurance adjuster or legal

representative. If you claim any privilege as to any such statements, please state the nature of the

privilege and the date and substance of each such statement.

                                                    8.

        Please produce any and all correspondence between the parties in connection with the incident

giving rise to the present lawsuit.

                                                    9.

        Please produce any and all photographs, video recordings, drawings, diagrams and/or

illustrations of any person, place or thing related to the incident which gives rise to the present lawsuit,

including but not limited to, any photographs or recordings of any of the vehicles taken after the

incident giving rise to the present lawsuit, and any photographs or recordings of the scene of the

occurrence of the incident.

                                                    10.

        Please produce any and all documents which disclose the name and address of any person

or persons who were the registered title owners or who had any legal or equitable interest in the

motor vehicle that you were driving on date of the incident described in the Complaint.

                                                    11.

        Please produce any and all repair bills or estimates of damage for the vehicle involved in the

incident which were made as a result of the incident forming the subject matter of Plaintiff’s

Complaint.
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                                                 12.

        Please produce any and all medical records or medical information concerning Plaintiff which

are in your possession, custody or control.

                                                 13.

        Please produce any citations you received and any disposition of such citations as a result of

the motor vehicle incident complained of in Plaintiff’s Complaint.

                                                 14.

        Please produce the transcript of any judicial or quasi-judicial hearing in connection with the

subject occurrence.

                                                 15.

        Please produce a copy of any incident report of any other vehicular incident in which you

have been involved, exclusive of the incident giving rise to the present lawsuit.

                                                 16.

        Please produce a copy of any civil complaint in which you have been named as a party other

than the lawsuit herein.

                                                 17.

        Please produce copies of all insurance policies that are identified in your responses to

Plaintiff’s First Interrogatories.

                                                 18.

        Please produce a declaration page for each and every insurance policy which could possibly

provide coverage in relation to this incident.
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                                                  19.

        Please produce any and all correspondence or other documents whereby any insurer has

reserved rights as to coverage or has denied coverage to you, in whole or in part, in connection

with the incident described in the Complaint.

                                                  20.

        Please produce any and all documents and tangible items, including but not limited to, reports,

memoranda, paper, notes, studies, photographs, videotapes, graphs, charts, tabulations, analysis,

summaries, data sheets, statistical or information accumulations, data processing cards or worksheets

and computer-generated documents, including drafts or preliminary revisions of any of the above,

prepared in connection with this litigation by or under the direction or supervision of any witness

whom you expect to call as an expert witness at the trial of this matter.

                                                  21.

        Please produce any Event Data Recorder for the vehicle Defendant Luis Batista was driving

at the time of the subject incident.

                                                  22.

        Please produce all other documents referred to or used in the preparation of your responses to

Plaintiffs’ First Interrogatories.

        Respectfully submitted this 14th day of December, 2021.

                                                        KENNETH S. NUGENT, P.C.

                                                           /s/ Ryan M. Horn
                                                        Ryan M. Horn
4227 Pleasant Hill Road                                 Georgia Bar No. 794788
Building 11                                             Jan P. Cohen
Duluth, Georgia 30096                                   Georgia Bar No. 174337
T: (770) 495-6688                                       Attorneys for Plaintiff
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rhorn@attorneykennugent.com
jcohen@attorneykennugent.com
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                                                                                      CLERK OF SUPERIOR COURT
                                                                                      MONROE COUNTY, GEORGIA
                       IN THE SUPERIOR COURT OF MONROE COUNTYSUCV2021000489

                                     STATE OF GEORGIA                                 DEC 14, 2021 11:57 AM


RICHARD PIERSON,                              )
                                              )
               Plaintiff,                     )
                                              )        CIVIL ACTION FILE NO.:
vs.                                           )
                                              )
LUIS BATISTA and VICTORIA                     )
LOGISTICS, LLC,                               )
                                              )
               Defendants.                    )

               PLAINTIFF’S FIRST REQUEST FOR ADMISSIONS, FIRST
             INTERROGATORIES, AND REQUEST FOR PRODUCTION OF
             DOCUMENTS TO DEFENDANT VICTORIA LOGISTICS, LLC

       COMES NOW, Richard Pierson, Plaintiff in the above-styled case, by and through his

undersigned counsel of record, Kenneth S. Nugent, P.C., and herewith serves upon this Defendant

the following Requests for Admissions, Interrogatories and Request for Production of Documents,

pursuant to the Georgia Civil Practice Act, and requires this Defendant to answer the following

Admissions, Interrogatories and Request for Production of Documents separately and fully in

writing under oath and to serve a copy of your answers on the attorneys for the Plaintiff within

forty-five (45) days from the date of service as provided by law. You are advised that if you fail

to admit any of the Requests for Admissions and the Plaintiff is required to prove any fact

contained in the Request at trial, the Plaintiff may seek all expenses incurred in making the proof,

including reasonable attorneys' fees.


                              REQUEST FOR ADMISSIONS

                                                  1.

       This Defendant admits that it has been properly served with a copy of the Summons and

Complaint in the above-styled action.
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                                                   2.

       This Defendant admits that jurisdiction and venue are proper in this case.

                                                   3.

       This Defendant admits that Plaintiff sustained damages as a result of the subject incident.

                                                   4.

       This Defendant admits that at all times relevant hereto, it was aware that Defendant Batista

was a reckless and/or incompetent driver.

                                                   5.

       This Defendant admits that Defendant Batista caused the incident described in the

Complaint.

                                                   6.

       This Defendant admits that at the time of the subject incident, Defendant Batista was acting

within the course and scope of his employment for Defendant Victoria Logistics, LLC

                                                   7.

       This Defendant admits that Victoria Logistics, LLC, owns the vehicle that caused the

incident described in the Complaint for purposes of doing business.

                                                   8.

       This Defendant admits that it did not properly check the driving record of employee

Alberto Batista before allowing him to operate the company’s vehicle(s), whether leased or owned.

                                                   9.

       This Defendant admits that Victoria Logistics, LLC, was immediately notified of the

incident.

                                                   10.

       This Defendant admits that Victoria Logistics, LLC, knew that Alberto Batista was driving

the vehicle made the subject of this litigation.
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                                FIRST INTERROGATORIES

        You are required to answer the following Interrogatories and to serve a copy of your

answers on the attorneys for the Plaintiffs within forty-five (45) days from the date of service as

provided by law.

        In answering the following Interrogatories, you are requested to give full and complete

answers based upon all knowledge of you and your agents, employees, servants, representatives,

investigators, and others who have obtained information on your behalf.

        These Interrogatories shall be deemed continuing in accordance with the Georgia Civil

Practice Act so as to require supplemental responses if you or your attorneys or agents obtain further

information between the time the responses are served and the time of trial. Any supplemental

responses are to be served upon counsel for Plaintiffs within thirty (30) days from receipt of such

additional information, but not later than the time of trial.

        When used in these interrogatories, the term "incident" specifically refers to the incident

which occurred on or about March 31, 2020, at approximately 3:51 a.m. on GA Highway 401 in

Monroe County, Georgia, involving Plaintiff and Defendant Luis Batista; and which forms the

basis of the Complaint filed by Plaintiff.

                                                    1.

        State the full name of each person providing information responsive to these interrogatories

including the following, position of employment with Victoria Logistics, LLC, or other entity,

current residence address, and the authority under which you are providing these responses.

                                                    2.

        List the name, address and telephone number of Defendant Batista’s present employer as

well as any known address for that defendant. Please include responses applicable to the at fault
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driver in this incident in the event you know or believe to know the identity of the at fault driver

or contend another individual to be responsible for the incident made the basis of this action.

                                                  3.

        Describe all information you have concerning Defendant Batista’s driving record and

indicate your information concerning the license number, the state of issuance, the date of issuance,

and all restrictions thereon.

                                                  4.

        Did your company receive a citation as a result of the incident involved herein for any

violation of traffic laws or regulations? If so, please state the date of the citation, the location

where the alleged violation occurred, naming the street or highway, and city or town; the nature of

the traffic violation alleged in the citation issued, the name of the court hearing the charges

contained in the citation, the date of that hearing, and the dismissal, fine, or other disposition which

resulted from the citations.

                                                  5.

        Describe your inquiries into the driving records of your employees, stating whether you

check for a valid driver’s license and whether you investigate their driving records before allowing

them to drive company vehicles.

                                                  6.

        Describe in detail any and all motor vehicle incidents (including the incident which is the

subject matter of this litigation) in which your company has been involved during the past ten (10)

years; state the facts and circumstances of each incident, the nature and extent of any and all

injuries received as a result of each such incident, and any and all legal consequences including

fines, imprisonment, civil suit, settlement, etc. of such incident.
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                                                  7.

       State the purposes for which you entrusted the vehicle in question to Defendant Batista on

the date in question, the purpose for which you had entrusted the vehicle, and the intended

destination of his journey.

                                                  8.

       Describe the employment history of Defendant Batista. Stating specifically:

       (a)     How long she has been/was employed by Victoria Logistics, LLC;

       (b)     If, when, and why he was terminated or resigned;

       (c)     If there were any issues involving Defendant Batista resulting in disciplinary

               action throughout the course of employment; and

       (d)     The rank and/or position held by Defendant Batista.

                                                  9.

       Identify, as defined above, the owner, if not you, of the vehicle driven at the time of the

incident which is the subject of Plaintiff’s Complaint.

                                                 10.

       Describe the damage that resulted to the vehicle you entrusted to Defendant Batista at the

time of the incident, stating the portion of the body of the vehicle damaged and the parts of the

vehicle repaired or replaced as a result of the incident, including the cost or estimated cost of said

repairs, the name and address of the person or entity estimating or repairing the damage, and the

present location of said vehicle.

                                                 11.

       State whether you are aware if Defendant Batista had consumed any alcoholic beverage or

any drug, whether prescription, over the counter, legal or illegal in the twenty-four (24) hour period

prior to the occurrence which gave rise to this litigation. If so, state the type of alcoholic beverage
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or drug, the quantity consumed by him, when the consumption occurred, and over what period of

time consumption occurred.

                                                  12.

          Did Defendant Batista miss any days of work immediately following the incident made the

subject of this litigation? If so, please identify the days missed and if he was paid for those days

absent.

                                                  13.

          Please state whether you, your attorney, insurance carrier, their representatives, or anyone

acting in your behalf or their behalf, have in your possession or have knowledge of any still

photographs, motion pictures, video tapes, drawings or other graphic representations of the scene

of this accident, the wreckage or any part thereof, any vehicle involved in this accident, any object,

place or thing involved or relevant to this accident, any reconstruction or simulation of any aspect

of this accident, or any of the Plaintiff taken since the time of the accident.

                                                  14.

          If your answer to the foregoing Interrogatory was in the affirmative, please identify and

describe each photograph, motion picture, or video tape:

          (a)    The subject matter of each stating what views, scenes, or objects of each;

          (b)    The name, business and residence address, and telephone number of each

                 person who took, made or prepared each;

          (c)    The total number of still photographs taken, and the total length of footage

                 taken in any such motion pictures or video tapes;

          (d)    The date each was taken and/or made;

          (e)    The name, address and telephone number of the custodian of each;

          (f)    Whether the subject matter represented therein differs in any way from the

                 conditions existing immediately after this accident, (if yes, describe all
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               changes or differences in detail); and

       (g)     Whether you will permit counsel for Plaintiffs to inspect and copy said

                items without a formal request for production.

                                                 15.

       Identify the owner of Victoria Logistics, LLC, and whether it is a Non-Profit, Private or

Government owned business, and the month, date, and year in which it was established.

                                                 16.

       Is there any person specially retained as an expert by this Defendant, who this Defendant

expects to call as an expert witness at trial? If so, identify (as defined above) this expert, the

subject matter or area for which each such expert was retained, the substance of the facts and

opinions held by each expert regarding the occurrence which forms the subject matter of this

litigation, and provide a summary of the grounds for each opinion of such expert.

                                                 17.

       Does any insurance agreement or indemnity agreement exist covering yourself, your

company, and/or the vehicle which you were in at the time of the incident involved in this lawsuit,

under the terms of which the person or company issuing the same may be called upon to satisfy

all or part of any judgment which may be entered in favor of the Plaintiff in this action? If so, state

the type of policy, the name and address of the insurer, the policy number, the name and address

of the person or persons insured, the policy number, the effective date of the coverage and the

limits of coverage provided by such agreement.

                                                 18.

       State specifically all facts and legal theories which you contend support the defenses set

forth in this Defendant's answer including, but not limited to, defenses based on lack of jurisdiction

of the subject matter, lack of jurisdiction of the person, improper venue, insufficiency of process,
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insufficiency of service of process, failure to state a claim upon which relief can be granted, failure

to join a party under O.C.G.A. § 9-11-19, failure to correctly name a Defendant, or failure to sue

a real party in interest.

                                                  19.

          State specifically, any and all medical conditions of Plaintiff that this Defendant contends

in any way affects the claim that Plaintiff have made in this action. For each such condition,

IDENTIFY, as defined above, any documents, photographs, statements, reports or other similar

items which contain information regarding the condition, and any person who has information

regarding such condition.

                                                  20.

          Please state the content of each and every statement made by any Plaintiff in this action to

you, or in your presence, which you overheard at the scene of this incident, in traffic court or at

any other occasion when you came in contact with any Plaintiff. Include with regard to each such

statement the party to whom the statement was directed, and the date and time of the statement.

                                                  21.

          Please state the content of each and every statement made by you to any Plaintiff in this

action, or to the police officer at the scene of this incident, in traffic court or at any other occasion

when you came in contact with any Plaintiff. Include with regard to each such statement the party

to whom the statement was directed, and the date and time of the statement.

                                                  22.

          Describe fully the extent to which any mechanical problems with your vehicle, the

condition of the weather, the condition of the highway, the occupants of your vehicle, or any other

external factor or factors influenced, contributed, or led to the incident made the basis of this

action.
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                                                 23.

       Describe as best you recall the events leading up to and including the incident, including

in your answer:

               (a)     When you entrusted the vehicle to Defendant Batista;

               (b)     When were first notified of the incident;

               (c)     The length of any skid marks you observed at the scene.

                                                 24.

       Identify how often all vehicles owned and/or leased by Victoria Logistics, LLC, are

maintenanced and state what business or person performs the maintenance of such vehicles.

                                                 25.

       Has Victoria Logistics, LLC, ever been a party to a lawsuit, either a Plaintiff or a

Defendant? If so, please state the case number, jurisdiction, and style of the case.




                     REQUEST FOR PRODUCTION OF DOCUMENTS

       You are required to produce the documents requested herein and to permit the Plaintiff, or

someone acting on their behalf to inspect them and copy such of them as they may desire, within

forty-five (45) days from the date of service as provided by law. You may produce such documents

by mailing copies of same to the undersigned at the office of Kenneth S. Nugent, P.C., 4227

Pleasant Hill Road, Building 11, Suite 300, Duluth, Georgia 30096. YOU ARE FURTHER

NOTICED TO PRODUCE THE DOCUMENTS AT ANY DEPOSITION, HEARING OR TRIAL

OF THIS MATTER PURSUANT TO O.C.G.A. § 24-10-26.

       This Request for the Production of Documents and other things shall be deemed continuing

so as to require further and supplemental production of any and all documents and other things learned
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of or received after the time of compliance herewith, the production of which would otherwise have

been required.

        The term "documents" is intended in the broad and literal sense, and means any and all

forms of written, typed, printed, recorded, graphic, or computer matter, however produced,

processed or reproduced, of any kind and description and whether an original, master, duplicate or

copy, including but not limited to agreements, amendments, analysis, appointment books, bank

checks, bills, canceled checks, communications (including inter-office and intra-office), corporate

records, correspondence, drafts, drawings, films, letters, lists, memoranda, microfiche, microfilm,

newspapers, notebooks, notes, orders, photographs, sound recordings, videotapes, things similar

to any of the foregoing, and notes, transcriptions or sound recordings of any type of personal or

telephone conversations, and all other physical things containing information, including

preliminary drafts of and marginal or other notes, notations or comments appearing on any

document, however denominated or described.

        If you dispute the genuineness of any documents produced in response to this Request for

Production of Documents, please provide information sufficient to locate and obtain the original

of such document.

                                                1.

        Copies of all policies of insurance or indemnity under which you were, or may be, afforded

insurance or indemnification coverage for the losses and damages claimed in this action.

                                                2.

        Each and every statement or report whether written, recorded, or otherwise preserved,

made by any person who was either an eyewitness to any aspect of the subject matter of this case,

or who has knowledge of any of the facts or circumstances relating to the subject matter of this

case.
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                                                  3.

        Each and every statement or report, whether written, recorded, or otherwise preserved,

prepared by any person or entity who, to your knowledge, has investigated or evaluated any

physical object, site, or factual circumstance involved in this litigation.

                                                  4.

        Each and every statement, letter or report, whether written, recorded, or otherwise

preserved, from any expert, consultant, party or witness relating to the allegations of negligence,

causation or damages, or any defense to such allegations.

                                                  5.

        All diagrams, maps, models, plats, drawings, or other graphic representations of any kind

whatsoever prepared by you, or on your behalf, as a result of the incident which is the subject

matter of this litigation.

                                                  6.

        All photographs, video tapes, photographic reproductions, or other visual representations

of any kind whatsoever of any person, place, or thing involved in, or related to, this action.

                                                  7.

        All documents, photographs, statements, reports, bills, or other similar items which contain

information regarding any and all medical conditions of the Plaintiff that this Defendant contends

in any way affects the claims that Plaintiffs have made in this action.

                                                  8.

        All records of employment in possession of Defendant Victoria Logistics, LLC, regarding

Defendant Batista, including hard copies and computer records.

                                                  9.

        All maintenance records regarding the vehicle owned by Defendant Victoria Logistics,

LLC, that was involved in the incident made the subject of this litigation.
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                                                10.

        Please produce any Event Data Recorder for the vehicle Defendant Batista was driving at the

time of the subject incident.

                                                11.

        Any and all safety manuals or materials, policies and procedures of any kind, including but

not limited to the transferring of loads, the manner in which transfers should be conducted and where

transfers can or should be transferred.

                                                12.

        Any and all driver’s handbooks, training videos or materials of the like, minutes of safety

meetings and frequency of said meetings.

        Respectfully submitted this 14th day of December, 2021.

                                                      KENNETH S. NUGENT, P.C.

                                                         /s/ Ryan M. Horn
                                                      Ryan M. Horn
4227 Pleasant Hill Road                               Georgia Bar No. 794788
Building 11                                           Jan P. Cohen
Duluth, Georgia 30096                                 Georgia Bar No. 174337
T: (770) 495-6688                                     Attorneys for Plaintiff
F: (770) 495-6787
rhorn@attorneykennugent.com
jcohen@attorneykennugent.com
                                           15741
Case 5:22-cv-00134-MTT Document 1-1 Filed 03/30/22 Page 40 of 56
                                                                          f° Lft, & RrCOiWEO
                                                                        CL[rJ,K
                                                                             , surrn1on
     1   VICTORIA LOGISTICS LLC                                          MOHROE COUNTY.COUGA
                                                                                            RT
         LUIS   BATISTA
     2   691 E 63 ST                                                    2022 HAR 22 PH 4: 31
         BIALeah , FL 33013
     3   (305) 721-6213

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     5
         In the Superior Court of Florida in
     6   the county of MONROE

     7

     8   Richard Pierson                          )Case No.: SUCV2021000489
                                                  )ANSWER, AFFIRMATIVE DEFENSES
     9                  Plaintiff                 )
                                                  )
    10           vs.                              )

    11        LUIS BATISTA
                                                  )
    12                 Defendant(s)               )
                                                  )
    13

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    16                                I. ANSWER

   17    Defendant(s) answer the complaint as follows:

    18   1.      Admit the statements contained in paragraph numbers 1,
                    7,   8,   10, 11
    19
         2.       Deny the statements contained in paragraph numbers
    20
         3.       Lack knowledge about the truth and therefore deny the
    21            statements contained in paragraphs numbers 2, 3, 4, 5, 6, 9
                  12
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                                      [Affirmative Defense] - 1
Case 5:22-cv-00134-MTT Document 1-1 Filed 03/30/22 Page 41 of 56
    1                    II. AFFIRMATIVE DEFENSES

    2   Defendant(s) other defenses are:
        Unjust Enrichment
    3
    4

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    6

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    8                                Dated this March 14, 2022

    9

   10
                                            �
   11                                      VICTORIA LOGISTICS LLC

   12                                      LUIS   BATISTA
                                           691 E 63 ST
   13                                      HIALeah , FL 33013
                                           (305) 721-6213
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                               [Affirmative Defense] - 2
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                                             15741
Case 5:22-cv-00134-MTT Document 1-1 Filed 03/30/22FILED
                                                     Page   42 of 56
                                                        IKOFFI(tE
                                                                                                            day of tZUfcCh 2CKL
     11   [Party/Attorney)
          [Party/^^mey]                                                                                    Monroe Coafity, Ga.

     2
     2    [Street
          [Street Address]
                  Address]

     3
     3    [City,
          [City, State
                 State ZIP)
                       ZIP)


                          [Superior/Distr ict)                              O_NR
                                                                               _ O
                                                                                 _ _ E___
     4
                 In the --=-----'------=--
                 In the                        court
                                               court for
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                                                             county of
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                                                                         M_
                                                                         MONROE
                          [Superior7Dis—--=-


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                                                              ) ___
                                                            A_,_
     5
                                 in
                                 in the
                                    the State
                                        State of        [GA]
                                                                   _
     6
     6

                                                                                sucv,mu,,,.,.
     17   RICHARD
          RICHARD PIERSON                                        case
                                                                 Case No.:
                                                                                sucwmiw,.,.
                  PIERSON                               )             No.:
                                                        )
     8
     8              Plaintiff,
                    Plaintiff,                          )
                                                        )        Request
                                                                 Request for
                                                                         for Interrogatories
                                                                             Interrogatories
     9
     9         v.
               v.                                       )
                                                        )
    10
    10    VICTORIA
          VICTORIA LOGISTICS
                   LOGISTICS LLC
                             LLC                        )
                                                        )
    11
    11              Defendant.
                    Defendant.                          )
                                                        )
    12
    12


    13
    13
                    RICHARD
                    RICHARD PIERSON
                            PIERSON                     reques
                                                        requests that VICTORIA
                                                              ts that VICTORIA LOGIS TICS LLC
                                                                               LOGISTICS  LLC

    14
    14    answer
          answer the
                 the following
                     following interrogatories
                               interrogatories in
                                               in conjunction with this
                                                  conjunction with this matter.
                                                                        matter. If
                                                                                If an
                                                                                   an

    15
    15    objection
          objection is
                    is made,
                       made, please
                             please state
                                    state the
                                          the reason
                                              reason for
                                                     for the
                                                         the objection.
                                                             objection. If
                                                                        If denying
                                                                           denying the
                                                                                   the

    16
    16    matter,
          matter, please
                  please set
                         set forth
                             forth in
                                   in detail
                                      detail the
                                             the reasons why the
                                                 reasons why the answering
                                                                 answering party
                                                                           party cannot
                                                                                 cannot

    17
    17    answer
          answer the
                 the questions.
                     questions.


    18
    18                                           Interrogatories
                                                 Interrogatories


    19
    19    1   LUIS BATISTA, DIVORCED, DOB 10/10/1975
          1.. LUIS BATISTA, DIVORCED, DOB 10/10/1975
                                                                         SSN
                                                                         SSN

    20
    20


    21
    21
          2 •• Yes,
          2    Yes, Victoria
                    Victoria Logistics
                             Logistics LLC
                                       LLC


    22
    22    3.
          3.        NIA"-----------------------------
                    N/A

    23
    23    4.
          4. WEST
             WEST PALM
                  PALM BEACH
                       BEACH FL
                             FL - CONYERS
                                  CONYERS GA.
                                          GA. FREIGHT
                                              FREIGHT CARGO,
                                                      CARGO, NO
                                                             NO PASSENGERS
                                                                PASSENGERS


    24
    24
          5.
          5.   While
               While driving
                     driving on
                              on that
                                 that road
                                       road I
                                            I felt
                                               felt sick,  weakened, foggy
                                                     sick, weakened,  foggy and
                                                                             and
          disoriented
          disoriented lost
                       lost control
                             control of
                                      of vehicle,
                                         vehicle, failed
                                                    failed to  maintain lane
                                                           to maintain   lane and
                                                                              and
    25
    25    collided
          collided with
                    with guardrail
                         guardrail causing
                                    ^u^ng the the. Freightliner  and its
                                                   Freightliner and       trailer
                                                                     its trailer
          to
          to overturn.
             overturn. By
                        By the  moment I
                           the moment   I regained
                                          regained Clarity
                                                     Clarity Truck  was already
                                                              Truck was  already
    26
    26
           overturned.

    27
    27
          6.
           6. I  was already
               I was  already exciting
                              exciting through
                                        through truck window and
                                                truck window and Truck  was
                                                                 Truck was
    28
    28
          -atteadJ
          ^-atteady o,erturned
                     overturned on
                                on road
                                   road when
                                         when plaintiff
                                              plaintiff erashed,
                                                        crashed, had he been
                                                                 had he  been—
          paying
          paying better
                   better attention
                           attention to
                                     to the
                                         the road,
                                             road, he may have
                                                   he may have seen
                                                               seen it
                                                                    it and
                                                                        and
          avoid
          avoid collision
                  collision
          lnterrogataies
          interrogataies -- 1
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Case 5:22-cv-00134-MTT Document 1-1 Filed 03/30/22 Page 43 of 56

          7.
          7.      N/A
                  N/A
    1
    1
          8. No
          R. No
    2
    2
         9. Not
         9. Not knowledge
                knowledge at
                          at time
                             time of
                                  of accident,
                                     accident, but I did
                                               but I did had
                                                         had Novel
                                                             Novel Virus
                                                                   Virus Co id 19
                                                                         Covid 19
    3
    3
          10 . "'�
          10   No
    4
    4
          11.N/A
          11.N/A
    5
    5
          12.N/A
          12.N/A
    66
          13.N/A
          13.N/A
    7
         14.N/A
    7
         14.N/A
    8
    8
          15. luis
          15. luis Batista
                   Batista
    9
    9
          16. N/A
          16. N/A
   10
   10
          17. Victoria
          17. Victoria Logistics
                       Logistics LLC
                                 LLC
   11
         18. Vehicle was just
                         just given maintenance,in Good
                                                   Good operable
                                                        operable condition
   11
         18. Vehicle was      given maintenance,in               conditionss
   12
   12
         19. Under
         19. Under the name :: luis
                   the name    luis Batista
                                    Batista
   13
   13
         20. Yes,
         20. Yes, resolved
                  resolved
   14
   14
             21.
             21. No
                 No

   15
          22.Divorce
   15
          22.Divorce

   16
   16        23. No
             23. No

   17
   17    24.
         24. Yes
             Yes resolved
                 resolved
         25.
         25. Hanover
             Hanover insurance
                     insurance group
                                 group IHZ
                                        IHZ D75005600,
                                             D75005600, County
                                                          County Hall CHL 01034
                                                                 Hall CHL      14 19
                                                                          0103414-19
   18
   18
                          certification
                          Certification Under
                                        Under Penalty of Perjury
                                              Penalty of Perjury

   19
   19


   20
   20    I
         I    certify under
              certify under penalty of perjury
                            penalty of perjury pursuant to the
                                               pursuant to the laws    the State
                                                                    of the
                                                               laws of     State                                               f
                                                                                                                              of

                   florida
                   florida
   21
   21                           that
                                that the
                                     the foregoing
                                         foregoing is
                                                   is true
                                                      true and
                                                           and correct.
                                                               correct.


   22
   22
                                                Answered this^ day
                                                Answered this�     of March
                                                               day of March                                         2022
                                                                                                                    ---
                                                                                                                    2022
   23
   23


                                                                                            Luis I!a:ti:.:ta
                                                                                            Ll.li:.
   24
   24
                                                                                                    Batista
                                                                            [P arty's Name
                                                                            [P^arty's     1
                                                                                      Name)
   25
   25
                                                                             Name:
                                                                             Name:

   26                                                                        Its:
   26


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                                                                            [Party)         �    ^.^
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         Interrogatories -- 2
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Case 5:22-cv-00134-MTT Document 1-1 Filed 03/30/22 Page 44 of 56
       Palient N
       Patient   ame
               Name
                          B atista, Lula
                          Batista,  Lula
       MRN
       MRN                1 0083101
                          10083101                                    Admit
                                                                      Admit Date
                                                                            Date         4/2/2020



            _____
                                                                                         4/2/2020
       Encoun ter
       Encounter          907 019511
                          907019511                                   Discharge
                                                                      Discharge Date
                                                                                Date     4/2/2020
                                                                                         4/2/2020



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                                      Incorporated.
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         Las instrucciones de cuidado fueron adaptadas bajo licencia
             instrucciones                                                por su
                                                                  licence por     profesional de
                                                                              su protesional   de atenc16n
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         medica.
         medica. Si usted tiene preguntas
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          Patient Summary
                  Summary

                                           West Kendall
                                           West Kendall Baptist
                                                        Baptist Hospital
                                                                Hospital

                                           9555
                                           9555 SW 162 A,•e.,
                                                SW 162 Ave., Miami,
                                                              Miami, FL
                                                                     FL 33196
                                                                        33196

                                                     786-467-2000
                                                     786-467-2000

                                            Discharge Instructions
                                            Discharge Instructions (Patient)
                                                                   (Patient)




      Name:Batista. Luis
      Name:Batista.  Luis
      DOB:
      DOB: 10/10/65
              10/10/65             MRN:
                                   MRN: 10083101
                                          10083101            FlN:
                                                              FIN: 907019511
                                                                    907019511
      Reason   For Visit:
      Reason For   Visit: Chest
                          Chest pain;
                                pain; Cough; Tachycardia@ 117:
                                      Cough; Tachycardia@   117: Fever:
                                                                 Fever: "cough"
                                                                        "cough"
      Final
      Final Diagnosis:
             Diagnosis: Atypical pneumonia; Coronavirus
                        Atypical pneumonia;  Coronavirus infection
                                                         infection SUSPECT   COVID II 9:
                                                                   SUSPECT COVID      9: Thrombocympenia:
                                                                                         Thrombocytopenia: Viral
                                                                                                           Viral
      illness
      illness


      Visit
      Visit Date:
            Date: 04/02/20
                  04/02/20 17:52:00
                           17:52:00
      Address:
      Address: 14912
                14912 SW
                       SW 18TH
                           18TH TER
                                 TER Miami
                                     Miami FL 33185
                                           FL 33185
      Phone:
      Phone:


      Primary
      Primary Care
              Care Provider:
                   Provider:
        Name: No
        Name:     PCP, NO
               No PCP, NO PCP
                          PCP
        Phone:
        Phone:


      Emergency Department
      Emergency  Department Providen:Primary
                            Providen:Primary Physician:
                                             Physician:
      Giovanni,
      Giovanni, Ann
                Ann C
                    C MD
                      MD


      Advanced
      Advanced Practitioner
               Practitioner Provider:
                            Provider:


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Case 5:22-cv-00134-MTT Document 1-1 Filed 03/30/22 Page 45 of 56


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                                                                                                                                 LUIS
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Case 5:22-cv-00134-MTT Document 1-1 Filed 03/30/22 Page 46 of 56
     11   VICTORIA LOGISTICS
          VICTORIA  LOGISTICS LLC
                              LLC
          LUIS
          LUIS    BATISTA
                  BATISTA
    2
    2     691
          691 E
              E 63
                63 ST
                    ST
          HIALeah
          HIALeah ,, FL
                     FL 33013
                        33013
    33    (305)
          (305) 721-6213
                721-6213


     44

     55
          In
          In the
              the Superior
                   Superior Court
                             Court of
                                   of Florida
                                      Florida in
                                              in
     66   the
          the county
               county of
                      of MONROE
                         MONROE


    77

    88    Richard
          Richard Pierson
                  Pierson                           )Case
                                                    )Case No.:
                                                          No.: SUCV2021000489
                                                               SUCV2021000489
                                                    }ANSWER,
                                                    (ANSWER, AFFIRMATIVE
                                                             AFFIRMATIVE DEFENSES
                                                                         DEFENSES
    99                  Plaintiff
                        Plaintiff                   ))
                                                    })
   10
   10            vs.
                 vs.                                ))
                                                    ))
   11
   11     VICTORIA LOGISTICS LLC
          VICTORIA LOGISTICS LLC                    )
                                                    ))
   12
   12                  Defendant{s)
                       Defendant(s)                 ))
                                                    })
   13
   13


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   14


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    16
    16                                I.
                                      I.   ANSWER
                                           ANSWER


   17
   17     Defendant{s}
          Defendant(s) answer
                       answer the
                              the complaint
                                  complaint as
                                            as follows:
                                               follows:


   18
   18     1.
          1.     Admit
                 Admit the
                       the statements
                           statements contained
                                      contained in
                                                in paragraph
                                                   paragraph numbers
                                                             numbers 1,
                                                                     1,
                       2,
                       2, 6,
                          6, 7,
                             7, 9
                                9
   19
   19
          2.
          2.     Deny
                 Deny the
                      the statements
                          statements contained
                                     contained in
                                               in paragraph
                                                  paragraph numbers 4, 8,
                                                            numbers 4, 8, 10
                                                                          10
   20
   20
          3.
          3.     Lack
                 Lack knowledge
                      knowledge about
                                about the
                                      the truth
                                          truth and
                                                and therefore
                                                    therefore deny
                                                               deny the
                                                                    the
   21
   21            statements
                 statements contained
                            contained in
                                      in paragraphs
                                         paragraphs numbers
                                                    numbers   3,
                                                              3, 5
                                                                 5

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   28
                                      [Affirmative
                                      [Affirmative Defense]
                                                   Defense] -
                                                            - 1
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Case 5:22-cv-00134-MTT Document 1-1 Filed 03/30/22 Page 47 of 56
    11                    II. AFFIRMATIVE DEFENSES
                          II. AFFIRMATIVE DEFENSES


    2
    2    Defendant(s)
         Defendant(s) other
                      other defenses
                            defenses are:
                                     are:
         Unjust
         Unjust Enrichment
                Enrichment
    33
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    66

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    88                                Dated this
                                      Dated this March 14, 2022
                                                 March 14, 2022


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                                              �
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   11
   11                                       VICTORIA LOGISTICS
                                            VICTORIA           LLC
                                                     LOGISTICS LLC



   12
   12                                       LUIS
                                            LUIS    BATISTA
                                                    BATISTA
                                            691
                                            691 EE 63
                                                   63 ST
                                                      ST
   13
   13                                       HIALeah
                                            HIALeah ,, FL
                                                       FL 33013
                                                          33013
                                            (305)
                                            (305) 721-6213
                                                   721-6213
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                                [Affirmative
                                [Affirmative Defense]
                                             Defense] -
                                                      - 2
                                                        2
Case 5:22-cv-00134-MTT Document 1-1 Filed 03/30/22 Page 48 of 56


     1   [Party/Attorney]

     2   [Street Address]


     3   [City. State ZIP]


     4
                   In the          [Stipe rior/District]       Court for          the County of                    MONROE
     5
                                            in the State of                           [GA]
     6

                                                                                                 SUCV2O21 000489
     7   RICHARD PIERSON                                                )         Case No. :
                                                                        )
     8                Plaintiff,                                        )
                                                                        )         Request for         Interrogatories
     9          v.                                                      )
                                                                        )
    10   VICTORIA LOGISTICS LLC                                         )

    J                 Defendant .
                                                                        )
                                                                        )
                                                                        )
    12


    13                RICHARD PIERSON                                   requests       that
                                                                                               VICTORIA LOGISTICS LLC

    14   answer        the     following       interrogatories               in   conjunction         with         this   matter.    If    an


    15   objection           is   made,    please       state     the       reason   for   the     objection.             If   denying    the


    16   matter,        please      set    forth      in   detail     the     reasons why the answering                        party cannot


    17   answer        the     questions.


    18                                                          Interrogatories

    19   1.    .
                LUIS BATISTA, owner, president DOB 10/10/1975

          2.         Victoria Logistics LLC. 691 E 63 ST Hialeah FL 33013
    20


    21    3 . Yes, Victoria Logistics LLC2.
    22    4.       Monroe county              failure to mantain                     lane

          5. driver license                   and record checked
    23

           6.        Just this         incident
    24

              7.     load freight
    25

              8.     About 5 years              ,   President
    26


    27
              9.     Victoria Logistics LLC


    28
               10     total Loss




         Interrogatories - 1                        https://www.northwestreqisteredaQent.com/leQal-forms/lawsuit/request-for-interrQQatories
Case 5:22-cv-00134-MTT Document 1-1 Filed 03/30/22 Page 49 of 56

            11. NO.           alcohol,    drugs,      etc
    1
             12.     yes,       was   not paid
    2
              13.     N/A
    3
             14.     N/A
    4
              15.      Luis Batista,            2015

    5
             16.     N/A
    6
               17.     Yes
    7
            18.      N/A
    8

             19.     N/A
    9


   10        20. N/A

   11
            21.      N/A


            22.      N/A


            23       -N/A-
   14


   15       24.      often


   16       25.      No

   17


   18
                                         Certification Under Penalty of Perjury

   19


   20   I   certify           under   penalty   of    perjury       pursuant         to    the    laws      of    the    State       of


   21                                 that the foregoing is true and correct.


   22
                                                                                                   March                     2022
                                                       Answered this                    day of
   23


   24
                                                                                          Victoria Logistics LLC

                                                                                   [Party's Name]
   25
                                                                                    Name: Luis Batista
   26                                                                               Its:
                                                                                    [Party]
   27


   28




        Interrogatories - 2                 https ://www, northwestregistefedaqent.com/legal-forms/lawsuit/req uest-for- interrogatories
Case 5:22-cv-00134-MTT Document 1-1 Filed 03/30/22 Page 50 of 56
      Patient Name       Batista. Luis
      MRN                                                                   Admit Date       4/2/2020
                         10083101
                                                                            Discharge Date   4/2/2020
      Encounter          907019511


                                                  Emergency Documentation

       © 2006-2020 Healthwise, Incorporated
        Las instrucciones de cuidado fueron adaptadas bajo licencia por su profesional de atenci6n
        medica Si usted tiene preguntas sobre una afeccibn medica o sobre estas instrucciones. siempre
        pregunte a su profesional de salud. Healthwise, Incorporated niega toda garantia o
        responsabilidad por su uso de esta informacidn



      Document Type.                                             ED Patient Summary
                                                                 4/2/2020 21 32 EDT
      Service Date/Time
                                                                 Modified
      Result Status.
                                                                 ED Patient Summary
      Document Subject
                                                                 Estopinales, Adrian (4/2/2020 21:32 EDT)
      Perform Information
      Sign Information
                                                                 Estopinales, Adrian (4/2/2020 21 32 EDT): Giovanni, Ann C
                                                                 MD (4/2/2020 21 11 EDT)

      ED Patient Summary

                                                West Kendall Baptist Hospital
                                               9555 SW 162 Ave., Miami, FL 33196
                                                          786-467-2000

                                                 Discharge Instructions (Patient)




      X'amerBatista. Luis
      DOB: 10/10/65                      MRN: 10083101            FIN: 90701951 1
      Reason For Visit: Chest pain; Cough; Tachycardia ($ 117; Fever; "cough"
      Final Diagnosis: Atypical pneumonia; Coronavirus infection SUSPECT COVID 19; Thrombocytopenia: Viral
      illness


      Visit Date: 04/02/20 17:52:00
      Address: 14912 SW 18TH TER Miami EL 33185
      Phone:


      Primary Care Provider:
         Name: No PCP. NO PCP
         Phone:


      Emergency Department ProviderstPrimary Physician:
      Giovanni. Ann C MD

      Advanced Practitioner Provider:

                                                          Page 25 of 87           Print Date/Time   3/14/2022 09:33 EOT
      Report ID   449421520



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Case 5:22-cv-00134-MTT Document 1-1 Filed 03/30/22 Page 51 of 56


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            Case 5:22-cv-00134-MTT Document 1-1 Filed 03/30/22 Page 52 of 56

                                                                                     CLERK OF SUPERIOR COURT
                                                                                     MONROE COUNTY, GEORGIA
                                                                                   SUCV2021000489
                                                                                     MAR 28, 2022 04:19 PM
                                IN THE SUPERIOR COURT OF MONROE COUNTY
                                            STATE OF GEORGIA

 RICHARD PIERSON

                   Plaintiff,                           CIVIL ACTION
                                                        FILE NO.: SUCV2021000489
 v.

 LUIS BATISTA and
 VICTORIA LOGISTICS, LLC

                   Defendants

                         CONSENT MOTION TO WITHDRAW
                    ANSWER AND RESPONSES TO INTERROGATORIES
              BY DEFENDANTS LUIS BATISTA AND VICTORIA LOGISTICS, LLC

            COME NOW the Parties and move the Court for an Order permitting the Defendants Luis

Batista and Victoria Logistics, LLC (hereinafter collectively referred to as “Defendants”) to

withdraw their Answer and Affirmative Defenses and Responses to Plaintiff’s Request for

Interrogatories both manually filed with this Court on March 22, 2022 and electronically filed with

this Court on March 23, 2022. Defendants will timely respond to the Complaint by the March 30,

2022 deadline.

            Respectfully submitted, this 28th day of March, 2022.

                                        [signatures on following page]




M0856152.1 15741                                  1
            Case 5:22-cv-00134-MTT Document 1-1 Filed 03/30/22 Page 53 of 56




 KENNETH S. NUGENT, PC                                  MCMICKLE, KUREY & BRANCH, LLP

 /s/ Jan P. Cohen                                       /s/ Matthew R. Sessions
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                                                        Alpharetta, GA 30009
 Fax: (770) 495-6787
                                                        Phone: (678) 824-7800
 Attorneys for Plaintiff
                                                        Fax: (678) 824-7801
                                                        Attorneys for Defendants




M0856152.1 15741                                    2
            Case 5:22-cv-00134-MTT Document 1-1 Filed 03/30/22 Page 54 of 56




                                   CERTIFICATE OF SERVICE

            This is to certify that I have this day served a copy of the foregoing CONSENT MOTION

TO WITHDRAW ANSWER AND RESPONSES TO INTERROGATORIES BY

DEFENDANTS LUIS BATISTA AND VICTORIA LOGISTICS, LLC with the Clerk of the

Court using the PeachCourt e-Filing system, which will send a notification attaching same thereon

to the following counsel of record:

                                           Jan P. Cohen, Esq.
                                    jcohen@attorneykennugent.com
                                        Kenneth S. Nugent, PC
                                        4227 Pleasant Hill Road
                                         Building 11, Suite 300
                                           Duluth, GA 30096
                                         Attorneys for Plaintiff

            This 28th day of March, 2022.



                                                  /s/Matthew R. Sessions
                                                  MATTHEW R. SESSIONS
                                                  For the Firm




M0856152.1 15741                              3
            Case 5:22-cv-00134-MTT Document 1-1 Filed 03/30/22 Page 55 of 56




                                IN THE SUPERIOR COURT OF MONROE COUNTY
                                            STATE OF GEORGIA

 RICHARD PIERSON

                   Plaintiff,                       CIVIL ACTION
                                                    FILE NO.: SUCV2021000489
 v.

 LUIS BATISTA and
 VICTORIA LOGISTICS, LLC

                   Defendants


                     CONSENT ORDER PERMITTING WITHDRAWAL
                  OF ANSWER AND RESPONSES TO INTERROGATORIES
              BY DEFENDANTS LUIS BATISTA AND VICTORIA LOGISTICS, LLC

            The Parties’ Consent Motion having come before the Court, and having found good cause,

the Court hereby grants the Parties’ Consent Motion and

            ORDERS that the Answer and Responses to Interrogatories on behalf of Defendants Luis

Batista and Victoria Logistics, LLC manually filed on March 22, 2022 and electronically filed on

March 23, 2022 are hereby withdrawn.

            SO ORDERED, this _____ day of _______________, 2022.



                                                _________________________________________
                                                Honorable William A. Fears
                                                Judge, Superior Court of Monroe County, Georgia




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            Case 5:22-cv-00134-MTT Document 1-1 Filed 03/30/22 Page 56 of 56




 CONSENTED TO BY:

 KENNETH S. NUGENT, PC                                  MCMICKLE, KUREY & BRANCH, LLP

 /s/ Jan P. Cohen                                       /s/ Matthew R. Sessions
 (with express permission by Matthew R. Sessions)
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                                                        Attorneys for Defendants




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